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                         Robert and Lori Halpin: List of Creditors


     1.    Chase SW Visa
           PC Box 1423, Charlotte, NC 28201-1 423
           Balance due: $12,890.00

     2.    Macy’s
           PC Box 9001094, Louisville, KY 40290-1094
           Balance due: $2,005.00

     3.    Lord & Taylor
           P.C Box 71106, Charlotte, NC 27282-1106
           Balance due: $1,982.00

     4.    Neiman Marcus
           P0 Box 5235, Carol Stream, IL 60197-5235
           Balance due: 5130.00

     5.    Best Buy
           PC Box 78009, Phoenix, AZ 85062-8009
           Balance due: 5411.00

     6.    Saks
           PC Box 71105, Charlotte, NC 28272-1106
           Balance due: 1,004.00

     7.    Amazon Store Card
           Synchrony BanklAmazon
           PC Box 960013, Orlando, FL 32896-0013
           Balance due: $962.00

     8.    Kohl’s
           PC Box 2983, Milwaukee, WI 53201-2983
           Balance due: 52,080.00

     9,    Nordstrom
           P0 Box 79139, Phoenix AZ 85062-9139
           Balance due: 51,984.00

     10.   Home Depot
           Dept. 32-2531 854929, P0 Box 9001043
           Louisville, KY 40290-1043
           Balance due: $331.00

     11.   Shell
           P0 Box 9001011, Louisville, KY 40290-1011
           Balance due: $520.00

     12.   BP
           BPISYNCB, PC Box 530942
           Atlanta, GA 30353-0942
           Balance due: $378.00




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     13.   PayPal
           PC Box 105658,, Atlanta, GA 30348-5658
           Balance due: $3,854.00

     14.   Principal Financial Loan
           Des Moines, IA 50392-1520
           Balance due: 526,571.00
